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                        UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT COURT OF MASSACHUSETTS

__________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
                        Plaintiff         )
v.                                        )                   CASE NO. 19cr10078-1-RWZ
                                          )
 William Rick Singer,                     )
                                          )
                        Defendant.        )
__________________________________________)

                                FURTHER STATUS REPORT


       The Government and Donald H. Heller, counsel for William Rick Singer, respectfully

submit this further Status Report requested by this Court on March 6, 2020. The parties request

that this Court schedule a further status report on a date convenient to the Court in May 2021, or

such other date the Court finds appropriate.

       Defendant Singer has pleaded guilty to four felony count of an Information on March 12,

2019. There are a total of fifty-five defendants criminally charged in matters related to defendant

Singer, in a group of cases commonly referred to as the “Admissions Cases.” The cases have

been assigned to multiple District Court Judges. To date forty-two defendants have pleaded

guilty and have been sentenced or await sentencing.

       On February 27, 2020, Judge Nathaniel Gorton scheduled two jury trials pertaining two

groups of remaining defendants assigned to his Court. The “Group 1” trial was scheduled to

commence on October 5, 2020, and the “Group 2” trial was scheduled to begin January 11, 2021.

On July 16, 2020, the government filed an assented to motion to continue the “Group 1” trial of

defendants Gamal Abdelaziz, John Wilson, Homayoun Zadeh, and Robert Zangrillo. Judge



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Gorton granted the motion and continued trial to February 22, 2021. On October 7, 2020, the

“Group 2” defendants, I-Hsin “Joey” Chen, Amy Colburn, Gregory Colburn, Elisabeth Kimmel,

William McGlashan, and Marci Palatella filed an assented motion to continue the trial of the

remaining defendants to a new date in late April 2021, in light of the COVID-19 pandemic. On

October 20, 2020, Judge Gorton granted motion the motion and continued the trial to April 20,

2021.

        In addition, four defendants assigned to Judge Indira Talwani have entered not guilty

pleas and have not to date been set for trial.

        Mr. Singer continues to cooperate with the government and been under the supervision of

U.S. Probation-Pretrial Services division since March 12, 2019. Mr. Singer has been fully

compliant the Pretrial Services officers who have supervised him. The parties expect that after

the conclusion of the pending cases set for trial before Judge Gorton and the other related cases

referred to above, Mr. Singer can be sentenced, allowing the government to inform the Court of

the full extent of Mr. Singer’s cooperation. If all cases have resolved prior to May 2021, Mr.

Singer’s case can advanced a sentencing can be scheduled.



                                                       Respectfully submitted,

                                                      /s/ Donald H. Heller

                                                      Donald H. Heller, Esquire
                                                      Donald H. Heller, A Law Corporation
                                                      Admitted Pro Hoc Vice
                                                      Attorney for Defendant
                                                      William Rick Singer
                                                       /s/ Justin O’Connell

                                                     Justin O’Connell
                                                     Assistant U.S. Attorney
                                                     Attorney for the Government



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                                CERTIFICATE OF SERVICE

       I, Donald H. Heller, hereby certify that on July 16, 2020, that this document was filed

through the CM/ECF system and will be sent electronically to all registered participants in this

matter as identified on the Notice of Electronic Filing (NEF).


                                             /s/ Donald H. Heller
                                             DONALD H. HELLER




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